Case: 5:22-cv-01454-CEH Doc #: 1-15 Filed: 08/15/22 1 of 3. PagelD #: 52

EXHIBIT L
Case: 5:22-cv-01454-CEH Doc #: 1-15 Filed: 08/15/22 2 of 3. PagelD #: 53

SQUIRRELS’

wo

Squirrels, LLC Invoice
121 Wilbur Or NE 00002981
North Canton, OH 44720
us
Bill To Name Nonce Pte Lid issue Date 6/27/2018
Bill To 8 St Martin's Dr Due Date 6/27/2018
#03-21 St Martin Residence
Singapore 258005
8G

BCU1525 with mods no DIMMS USD 3,350.00 50.00 USD 167,500.00
Subtotal USD 167,560,00
Grand Total USD 167,500.00
Wire Transfer JPMorgan Chase Bank, NLA,

219 North Main Si.

Norh Ganiton, OH 44720
Routing: 044000037
Account: 233220217
Swif{ Code: CHASUS33
Case: 5:22-cv-01454-CEH Doc #: 1-15 Filed: 08/15/22 3 of 3. PagelD #: 54

TELEGRAPHIC TRANSFER APPLICATION
HOCH

DBS

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Applicant's Particulars Wig ASH Payment Moda = #} 46 434

Name Forsell Carl Leng. _.

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Telegraphic Transfer (IT) Details il: 4 44 Instructions for DBS Bank (If any)

Remitting Cusency & Amount if Be Oya eRe | S47 RAGGA

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{y] Forelgn Currency (]5co

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‘ 1.35 SGD, convert from SGD; otherwise please drawfram
Currency: (USD) E.g, [ul § [D! Amount: my USD sub-account.

Charge Detalls (For Bank Use) dy 857 $5 (REF Hz)
Amount: 167500,00 (Aemitting cunency in SGD only df bencliciary

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2) Charges of Agent Banks (cigar yee tt Aas BEAR
Total Principal and Charges
Applicant at. 4 C] Beneficiary gs J, eit

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st _...North Canton, OH 44720

county USA

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: For IDR transfers
Squirrels LLC
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ne caeee oe eee bebe eee GE Nar Raster

necounto.11BaN* 233220217.

Reesues 194 Wilbur Dr NE

me North Canton, OH 44720

“Please refer to the required codes overteaf, ‘id Ba AU IH.

Payment Details / Purpose af Payment (Mandatary for KRW, TWD, INR, THB, IDR aru MYR Telegraphic Transfers)
(PRG OO) (dba Gd, aeth, ALA ee, aa

1. Lrepresent and warrant that the contents of this Appiicatlon (ingluding bul not bnited to aay and all supporting documents that arg submitted together with this Application) are true, Complete and
accurate In all respects, and that the dunk may cely on tht Application form and any supporting documents

2 We have tad and accept the teres overleal,

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28/6/18

Authorised Signatirels) With Company Srp (Wapplkable) EY RABE SR CBI Bate 1
For Bank Use §4ii

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